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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                           CASE NO.: 4:06cr48-SPM

JASON SHOATES,

           Defendant.
___________________________/

                     ORDER CONTINUING SENTENCING

      Upon consideration, Defendant’s Consented Motion for Continuance (doc.

129) is granted. The sentencing hearing is reset for 1:30 p.m. on Tuesday,

February 20, 2007 at the United States Courthouse in Tallahassee, Florida.

      SO ORDERED this 27th day of December, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
